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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                        Case No.:
DAVID LAPA on behalf of himself, all others
similarly situated, and the general public,
                                                        CLASS ACTION
       Plaintiff,
                                                        COMPLAINT FOR VIOLATIONS OF NEW
                                                        YORK’S UNFAIR AND DECEPTIVE
                       v.
                                                        BUSINESS PRACTICES LAW, FALSE
                                                        ADVERTISING LAW, NEGLIGENT AND
MASSAGE ENVY FRANCHISING, LLC, a
                                                        INTENTIONAL MISREPRESENTATION, AND
Delaware Limited Liability Company
                                                        RESTITUTION
       Defendant.
                                                        DEMAND FOR JURY TRIAL


       Plaintiff DAVID LAPA (hereinafter referred to as “Plaintiff” or “Plaintiff LAPA”), on

behalf of himself, all others similarly situated, and the general public, by and through his

undersigned counsel, hereby bring this action against MASSAGE ENVY FRANCHISING,

LLC (hereinafter referred to as “Massage Envy”), and allege the following upon his own

knowledge, or where he lacks personal knowledge, upon information and belief including the

investigation of their counsel.



                                       INTRODUCTION

       1.      Massage Envy is a membership-based massage franchise that, by its standard

business practices, attracts customers to join its program that entitles members to receive one

fifty minute massage per month in exchange for a monthly fee that ranges between

approximately $39.00 to $59.00 (depending on geographic region).              Upon a consumer

enrolling in Defendant’s membership program, they must execute a Membership Agreement

form that states in substantially identical language that:




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       For those choosing to pay on a monthly basis: “[y]our membership dues of
       $[X dollar amount] (not including any additional applicable taxes) are due on or
       after the     day of each month hereafter until your membership expires or is
       terminated in accordance with this agreement (Emphasis added).”

       For those choosing to pay in full for a given term: “[y]our payment of $[X dollar
       amount] is due today.”

In other words, a customer contracts to pay an explicit, set fee for the entire membership term,

payable either in one lump sum or in equal monthly installments (based on the length of

the term in the Membership Agreement).

       2.      When the initial term of the Membership Agreement expires, a customer’s

membership is automatically renewed pursuant to the Membership Agreement form, stating

in nearly identical language that “[f]ollowing the initial term, your membership will

automatically continue on a month-to-month basis at $[X dollar amount] per month until

your membership is cancelled (Emphasis added).”         The Membership Agreement thereby

represents that a Massage Envy customer will pay a set, agreed upon monthly fee until their

Membership Agreement is cancelled. The automatic renewal provision is also one of only two

provisions in the Membership Agreement that are required to be initialed by the consumer at

the time the contract is executed.

       3.      Defendant has failed to abide by its contract.         After execution of the

Membership Agreement locking in the monthly membership fee amount (both for the original

term and renewal term(s)), Massage Envy unilaterally raises the monthly membership fee

amount without consent of the customer. Defendant has continued to increase its membership

fees without justification (and at times without notice) in some cases over thirty-five percent.

As a result, Defendant has collected millions of dollars attributable to monthly membership

fees without a contractual provision allowing the fee increases to occur. Often, Massage




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Envy customers do not know that their obligated payments have increased to an amount

greater than contractually imposed on them due to the nature of Defendant’s automatic

billing.

           4.    Defendant’s business model makes it very difficult for a member to

discontinue the membership in order to avoid the increased fee (if noticed) as Defendant

requires customers to prepay for their massages. This results in many customers having a

“bank” of accrued massages that must be used before cancellation of their membership and

thus a corresponding loss of these earlier prepaid massages when they cancel.

           5.    Given the limited ability of the customers to immediately terminate the

Membership Agreement (assuming the fee increase is noticed), Plaintiff and the putative Class

pay an amount far greater than the contracted obligation. The Membership Agreement

restricts a member’s ability to cancel the contract during the initial term, allowing

cancellation if, and only if: (1) the member permanently relocates their residence more than

25 miles from any Massage Envy or Massage Envy Spa or (2) a physician certifies that the

member is physically unable to receive massage services, both circumstances dependent on

approval by Defendant. Cancellations require 30 days written notice and only become effective

30 days after the date of the member’s last payment.

           6.    Accordingly, Plaintiff bring this class action to remedy Defendant’s unlawful

practices.      Defendant’s unilateral price increases breach the customer’s Membership

Agreement.

           7.    Furthermore, Defendant’s unilateral price increases violate Massage Envy’s

implied covenant of good faith and fair dealing given the law of the State of New York.




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        8.    Relative to the New York class, Massage Envy’s practice of agreeing to a set

monthly membership fee for the duration of a customer’s membership followed by a unilateral

fee increase is prohibited by N.Y. Gen. Bus. L. § 349 and § 350 as described herein below.

        9.    This class action seeks restitution of all fees paid by Defendant’s customers in

excess of the contracted amounts set forth in their Membership Agreements, injunctive relief

preventing the recurrence and perpetuation of Defendant’s improper conduct, declaratory relief

pursuant to the Declaratory Judgment Act, 28 U.S.C. §2201, and such other relief as allowed

by law or equity.



                             INTRADISTRICT ASSIGNMENT

        10.   Pursuant to Local Civil Rule 50.1(d)(2)(b)(1), this action is properly assigned to

the Manhattan Courthouse, because, as further set forth herein, a substantial part of the events

or omissions giving rise to the claims occurred in Rockland County.



                                       THE PARTIES

        11.   Plaintiff DAVID LAPA is a resident of Rockland County, New York.

        12.   Defendant Massage Envy is a Delaware Limited Liability Company with its

principal place of business in Scottsdale, Arizona. Massage Envy is the franchisor and

monitors, regulates, controls, and directs Massage Envy clinics nationally, including in New

York.




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                                 JURISDICTION AND VENUE

         13.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §

1332(d)(2)(A), the Class Action Fairness Act, because the matter in controversy exceeds the

sum or value of $5,000,000 exclusive of interest and costs, at least one member of the class of

Plaintiff is a citizen of a State different from Massage Envy. In addition, more than two-thirds

of the members of the class reside in states other than the state in which Defendant is a citizen

and less than one-third of the members of the class reside in states other than the state in which

this case is filed. Therefore any exceptions to jurisdiction under 28 U.S.C. § 1332(d) do not

apply.

         14.      The Court has personal jurisdiction over Massage Envy, because Defendant is

authorized to transact business in New York by the Department of State.             Furthermore,

Defendant advertised, marketed, distributed, offered for sale, and sold its services to consumers

in New York and the United States, transacting business in New York County, in New York,

and throughout the United States, including without limitation through extensive on-the-shelf

presence in New York County, and online marketing intended to reach consumers in New York

County.        Moreover, Massage Envy has sufficient purposeful, systematic, and continuous

minimum contacts with the various states of the United States, including New York, and has

sufficiently availed itself of the markets of various states of the United States, including New

York, to render the exercise of personal jurisdiction by this Court permissible.

         15.      Venue is proper in the Southern District of New York pursuant to 28 U.S.C. §

1391(b) and (c), because a substantial portion of the acts forming the basis for the claims

occurred in this district, and because Massage Envy transacts substantial business generally in

this district.




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                                                 FACTS

        16.     Plaintiff bought a Massage Envy membership at the Massage Envy “clinic”

located at 8 Rockland Plaza, Nanuet, New York, on or about October 12, 2011. Plaintiff

signed the standardized Membership Agreement providing for a monthly membership fee of

$59.00. Plaintiff’s contract with Massage Envy had an initial term of twelve months (from

October 12, 2011, until October 11, 2012), with automatic renewal that thereafter continued

the contract month-to-month at a stated fee of $59.00 per month until his membership was

cancelled.

        17.     In or around March 2018, Massage Envy unilaterally increased the monthly

membership fee amount from $59.00 to $70.00. Plaintiff received no notice of the price

increase and failed to notice the increase because it was a recurring charge and the increase

amount was small. Plaintiff paid Massage Envy approximately seventy-seven (77) monthly

membership fee installments of $59.00 each and four (4) monthly membership fee

installments of $70.00.

        18.     Massage Envy requires each Massage Envy clinic to (1) use its Membership

Agreements, including the requirement that Plaintiff and the Class “agree to pay [Massage
                                                                                      1
Envy] for the membership, goods and services according to the payment schedule above,” (2)

abide by its rules, and (3) contribute to funding pools intended for advertising and marketing.

        19.     Massage Envy describes itself as a “pioneer and national leader of affordable

massage and spa services.” In fact, Massage Envy is the world's largest employer of

licensed/registered massage therapists, with more than 25,000 therapists providing over


 1
   The “payment schedule above” refers to the first section of the Membership Agreement titled “Membership
 Description & Payment Schedule,” which is where the contracted monthly membership fee amount is stated, both
 for the original term and renewal term.


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250,000 massages every week. Massage Envy claims to have provided over 90 million

massages, in over 1,000 clinics in the United States, making it the nation’s largest massage

chain. Massage Envy has over 1.65 million members.

           20.     In 2002, Massage Envy created a consumer massage business model

designed to mimic the “health club” membership paradigm.                   Unlike    a   health    club,

however, Plaintiff and putative Class members do not purchase the right to access and use

Massage Envy’s facilities, instead purchasing a pre-paid, transferrable massage treatment in

exchange for a monthly fee ranging from $39.00 to $59.00.                  The           “membership”

dimension of Defendant’s business model arises from the recurring nature of Defendant’s

monthly charges, not from the exclusivity members receive to use Massage Envy’s services.

           In fact, non-members can purchase anything from Defendant that Plaintiff and putative

Class members can purchase.

           21.     When a prospective customer initially visits a Massage Envy clinic, the

prospect is offered a massage at an “introductory price.”                  Immediately     after    the

prospective customer has received their massage treatment and is in a relaxed mood,

Defendant’s protocol is to then immediately offer the candidate a Massage Envy

membership.         The candidate is required to sign Massage Envy’s standardized adhesion

contract to proceed with membership and must commit to paying the recurring monthly fee

that is offered as a one-time, take it or leave it opportunity (the “Membership Agreement”).

           22.     Plaintiff and each putative Class member has signed the Massage Envy

Membership Agreement for personal, family, or household purposes. The text of Massage

Envy’s Membership Agreement provides:2



2
    Variations in the Membership Agreement are provided in brackets.


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        “Your membership dues of $[X dollar amount] (not including any additional
        applicable taxes) [will be due on    and then due on or after the same day of
        each month / are due on or after the day of each month] hereafter until your
        membership expires or is terminated in accordance with this agreement.”

        “Following the initial term, your membership will automatically continue on a
        month-to-month basis at [$X dollar amount] per month / the monthly rate] until
        your membership is cancelled [by you].”

        “You agree to pay us for the membership, goods and services according to
        the payment schedule….”

        “You may cancel your membership during the initial term only in the event
        that, (a) you permanently relocate your residence more than a 25 mile radius
        away from any Massage Envy or Massage Envy Spa; or (b) a physician
        certifies that you are unable to receive massage or facial services. All
        cancellation requests MUST be accompanied by written proof of relocation
        (e.g., Mortgage or Rental agreement, utility bill, car insurance) or submission of
        Doctor's note. Upon approval of your written request for membership
        cancellation during the initial membership term, you will be relieved from
        making any future membership dues payments.”

        Each Class member’s Massage Envy Membership Agreement is identical, or
        functionally identical, as to its material terms.

        23.      Massage Envy’s Membership Agreement contains an express clause with an

explicit, locked in amount that is to be paid each month “until [a member’s] membership

expires or is terminated in accordance with this agreement.” The membership fee amount for

the initial term as well as the auto-renewed extension term are on the first page of the

contract.3 The first page is the only page to the agreement that is required to be signed by

the customer. Additionally, the auto-renewal provision of the agreement, including the

monthly fee amount, must be initialed by the new member. Through this process, each

member of the Class is purportedly assured that the membership fee amount will never

increase once a they execute the agreement and begin making timely payments.


3
  The contracts are one page in length, with supplemental terms and conditions sometimes, but not always, being
provided. Even when provided, however, the terms and conditions are glossed over by Massage Envy and are
not required to be signed by members.


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        24.     While the Membership Agreement prohibits unilateral increases of the monthly

membership dues,        Massage     Envy unilaterally increases (often without              notice or

forewarning) the monthly membership fees owed by its members (increases ranging from

1.68% to as high as 37.53%). If Defendant increased the monthly fees eleven dollars, as it

did with Plaintiff LAPA, it would be a significant (and illegal) windfall. If Defendant does

in fact have approximately 1.65 million members, as represented,4 an eleven dollar increase

in monthly fees yields an additional 217.8 million dollars of annual revenue nationwide.

        25.     Defendant’s fee increases are not innocent or accidental, but part of a concerted

plan to extract as much money from its captive membership base as possible.                     The

philosophy of Defendant is inchoate as, for example, Defendant makes it as “painful” as

possible for customers to cancel a membership. Massage Envy members lose accrued or

“banked” massages after cancellation. Further, cancellation is only effective thirty days

after the member’s home clinic receives written notice in an allowable form. As referenced

above, Massage Envy members often are unaware that their membership fee is increasing

because Massage Envy requires that customers provide a credit card for automatic billing and

does not provide a monthly accounting of membership changes.

        26.     Defendant starts its untoward agenda with a small, ninety-nine cent monthly

increase, intended to test is customers’ price sensitivity and reactions.       After the “test run”

Defendant increases its monthly membership fees further. Regardless of the size of the

increase, Defendant’s actions are unconscionable and/or a violation of the Membership

Agreement. Defendant thus uses its members as a corporate ATM – withdrawing an additional

monthly payment in excess of the amount stated in the Membership Agreement.


4
 https://www.massageenvy.com/newsroom/press-releases/massage-envy-reaches-major-company-milestone-with-
100-millionth-service/


                                                   9
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        27.     Massage Envy’s unlawful practices generate numerous Internet complaints, the

below samples indicative of complaints about Massage Envy’s fee increases:

        “I had no idea the rates went up…as told they e-mailed me,,,tThey said they
        sent me a letter…I received       neither have been with them 7
        year’s…I was a valued customer,sometimes went 3 times a month alway’s has 2
        hours as I went not for relaxing…I went as my disks and muscles needed
        it…and they are very good at there work…But to spend almost $125-$175
        including tip is way way out of my reach…But was told the increase was to
        pay for the employee’s…they depend on tip’s and believe me this will fall into
        play…From a Loyal customer that way feels burned!!!…[sic]”5

        “I just received notice they have changed the $39 to $49 as I go every 3 times
        month…I now want out of this contract..I was told they had to pay the employees
        more money…they depend on tip’s..I have been going 2006 I no longer
        believe in them..I received no notice as I walked in last week? Even as they
        told me they e-mailed me as well as a home mail…I get notices all the time
        about??? How did you like your massage,as well as phone calls…I heard nothing
        about price increase …NOT HAPPY. [sic]” 6

        “I signed up for a Massage Envy membership 3 months ago, and got an e-mail
        a couple of days ago, letting me know that the membership price was
        increasing by.99 cents. I contracted for $59.00 per month, NOT 59.99 per
        month. WTF? Gonna cancel, if they increase before the end of my contract.
        [sic]”7

        “. . . Now, Massage Envy Mira Mesa has decided to raise all their rates across
        the board and they are no longer honoring grandfathered rates. The owner,
        Joe Wang, himself claimed that he has a right to refuse service to anyone,
        even a person with a valid, contracted ME membership because their rates are
        too low and he has to run a business. I don't see how this is acceptable to
                                                                                       8
        Massage Envy Corporate, and it is surely a poor business practice . . . [sic]”

        28.     Accordingly, the subject of this complaint is not an isolated problem.

Millions of individuals have suffered from Defendant’s failure to abide by the proper

contractual obligations and deserve a remedy.




5
  http://massageenvyblows.com/no-go/
6
  http://massageenvyblows.com/change/
7
  http://massageenvyblows.com/can-they-do-this/
8
  https://www.yelp.com/biz/massage-envy-mira-mesa-san-diego


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                               CLASS ACTION ALLEGATIONS

        29.      Pursuant to Fed. R. Civ. P. 23, Plaintiff seeks to represent a class comprised

of all persons in New York who, within the applicable statute of limitations preceding the

filing of this action, who were or are presently enrolled in a Massage Envy membership and

whose monthly membership fee was increased above the amount stated in their Membership

Agreement.

        30.      Excluded from the Class are all legal entities, Defendant herein and any person,

firm, trust, corporation, or other entity related to or affiliated with any defendant, as well as

any judge, justice or judicial officer presiding over this matter and members of their

immediate families and judicial staff.

        31.      Plaintiff nevertheless reserves the right to divide into subclasses, expand,

narrow, or otherwise modify the class definition prior to (or as part of) filing a motion for class

certification.

        32.      The members in the proposed class and subclass are so numerous that individual

joinder of all members is impracticable, and the disposition of the claims of all class members

in a single action will provide substantial benefits to the parties and Court. Fed. R. Civ. P.

23(a)(1). While the exact number of Class members is unknown to Plaintiff at this time and

will be ascertained through appropriate discovery, Plaintiff is informed and believes that there

are hundreds of thousands of members in the Class. Defendant requires each of their clinics

to install Massage Envy’s proprietary software called “Millennium 2009” (or the current

update), which Massage Envy sublicenses to its franchised clinics.          This software can be

used to monitor memberships, for management and accounting, point of sale, cash register, and

credit card processing functions.      Massage Envy has independent, unlimited access to the




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information generated and tracked by the computer systems at its franchised clinics,

including information generated from Millennium 2009 (or a current update). Thus, Defendant

can readily obtain information to identify members of the Class, as well as the amount by

which Class members’ monthly fees were increased and the amounts paid by each member

in excess of the amount stated in his/her Membership Agreement.          Members     of    the

Class can be identified from the records maintained by Defendant.

        33.    There are questions of law and fact common to the class, Fed. R. Civ. P.

23(a)(2), which Plaintiff may seek to litigate on an individual basis pursuant to Fed. R. Civ.

P. 23(c)(4), including without limitation, that Each putative member of the Class contracted

with Defendant to pay a set monthly membership fee which can be deducted from the

amounts actually paid by each Class member to determine class-wide restitution and/or

damages.

        34.    Plaintiff’s claims are typical of the claims of the other members of the

putative Class. All Class members have been and/or continue to be similarly affected by

Defendant’s wrongful conduct as complained of herein, in violation of law. Plaintiff has no

interests adverse to the Class.

        35.    Plaintiff will fairly and adequately protect the Class members’ interests and

has retained counsel competent and experienced in consumer class action lawsuits and complex

litigation.

        36.    Defendant has acted with respect to the putative Class in a manner generally

applicable to each Class member. Common questions of law and fact exist as to all members

of the Class and predominate over any questions wholly affecting an individual Class member.

There is a well-defined community of interest in the questions of law and fact involved in the




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action, affecting all members of the Class. The questions of law and fact common to the

members of the Class include, inter alia:

             (a) Did Defendant’s unilateral increase of the monthly membership fees violate

                the stated membership fee clause and/or payment schedule of Defendant’s

                Membership Agreement;

             (b) Did Defendant’s unilateral increase to the monthly membership fees violate

                the implied covenant of good faith and fair dealing attaching to the Membership

                Agreement;

             (c) Whether Plaintiff and the Class members are entitled to declaratory relief

                pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201, declaring that

                Massage Envy’s Membership Agreement does not entitle Defendant to

                unilaterally increase the monthly membership fees of Plaintiff’s and the Class

                members;

             (d) The nature and extent of damages, restitution, equitable remedies, and

                injunctive relief to which Plaintiff and the Class members are entitled;

             (e) Whether and the amount Plaintiff and the Class members should individually

                be awarded attorneys’ fees and the costs of suit;

       37.      A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy since joinder of all members is impracticable.

Furthermore, as the damages suffered by individual Class members may be relatively small,

the expense and burden of individual litigation make it virtually impossible for Class

members to individually redress the wrongs done to them. There will be no difficulty in

managing this action as a class action.




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        38.     Defendant has acted on grounds generally applicable to the entire Class with

respect to the matters complained of herein, thereby making appropriate the relief sought

herein with respect to the members of the Class as a whole.

        39.     As a result of the foregoing, class treatment is appropriate under Fed. R. Civ.

P. 23(a), (b)(2), and (b)(3), and may be appropriate for certification “with respect to particular

issues” under Rule 23(c)(4).



                         CAUSES OF ACTION
                       FIRST CAUSE OF ACTION
    UNFAIR AND DECEPTIVE BUSINESS PRACTICES, N.Y. GEN. BUS. L. § 349

        40.     Plaintiff re-alleges and incorporates the allegations elsewhere in the Complaint as

if fully set forth herein.

        41.     Massage Envy’s conduct constitutes deceptive acts or practices or false

advertising in the conduct of business, trade or commerce or on the furnishing of services in

New York which affects the public interest under N.Y. Gen. Bus. L. § 349.

        42.     As alleged herein, by advertising, marketing, and selling their massage services

to Plaintiff and other class members with false or misleading claims and representations

regarding pricing, Massage Envy engaged in, and continues to engage in, deceptive acts and

practices.

        43.     Massage Envy’s conduct was materially misleading to Plaintiff and the class.

        44.     During the class period, Massage Envy’s carried out a plan, scheme and course of

conduct which was consumer oriented.

        45.     As a direct and proximate result of Massage Envy’s violation of N.Y. Gen.

Bus. L. § 349, Plaintiff and the class were injured and suffered damages.




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        46.     The injuries to Plaintiff and the class were foreseeable to Massage Envy and,

thus Massage Envy’s actions were unconscionable and unreasonable.

        47.     Massage Envy is liable for damages sustained by Plaintiff and the class to the

maximum extent allowable under N.Y. Gen. Bus. L. § 349.

        48.     Furthermore, pursuant to N.Y. Gen. Bus. L. § 349 (h), “In addition to the

right of action granted to the attorney general pursuant to this section, any person who has been

injured by reason of any violation of this section may bring an action in his own name to enjoin

such unlawful act or practice, an action to recover his actual damages or fifty dollars,

whichever is greater, or both such actions. The court may, in its discretion, increase the award

of damages to an amount not to exceed three times the actual damages up to one thousand

dollars, if the court finds the defendant willfully or knowingly violated this section. The court

may award reasonable attorney's fees to a prevailing Plaintiff.

        49.     Plaintiff further makes a claim for all of the above damages pursuant to N.Y.

Gen. Bus. L. § 349 (h).

        50.     Pursuant to N.Y. Gen. Bus. L. § 349(h), Plaintiff and the class seek an Order

enjoining Massage Envy from continuing to engage in unlawful acts or practices, false

advertising, and any other acts prohibited by law, including those set forth in this Complaint.



                             SECOND CAUSE OF ACTION
                      FALSE ADVERTISING, N.Y. GEN. BUS. L. § 350

        51.     Plaintiff re-alleges and incorporates the allegations elsewhere in the Complaint as

if fully set forth herein.




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        52.     Massage Envy has engaged and is engaging in consumer-oriented conduct which

is deceptive or misleading in a material way, constituting false advertising in the conduct of any

business, trade, or commerce, in violation of N.Y. Gen. Bus. L. § 350.

        53.     Massage Envy’s use of a lower monthly rate in marketing their massage

services, and the manner in which Massage Envy markets their services, is deceptive in light of

the fact that these monthly rates are increased without warning or notice and charged

automatically, as described above.

        54.     Massage Envy knew, or reasonably should have known, that marketing their

services at the $59.00 per month rate, and the manner in which it markets its massages, was

untrue or misleading.

        55.     As a result of Massage Envy’s false advertising, Plaintiff and the class have

suffered and continue to suffer substantial injury, including damages, which would not have

occurred but for the false and deceptive advertising, and which will continue to occur unless

Massage Envy is permanently enjoined by this Court.



                                THIRD CAUSE OF ACTION
                             NEGLIGENT MISREPRESENTATION

        56.     Plaintiff re-alleges and incorporates the allegations elsewhere in the Complaint as

if fully set forth herein.

        57.     Massage Envy misrepresented to Plaintiff and the class the pricing of their

services, and omitted material facts concerning the true nature of the monthly charges.

        58.     Massage Envy owed a duty to Plaintiff and the class to exercise reasonable care

when issuing statements or disclosures regarding the monthly price increases.




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        59.     Massage Envy’s statements and disclosures regarding the pricing of the services

were likely to deceive Plaintiff and the class.

        60.     Massage Envy’s omissions of material information were likely to deceive

Plaintiff and the class in that, had Massage Envy not omitted such material information, the

disclosure of that information would have resulted in Plaintiff and the class acting differently,

for example, not purchasing the massage services.

        61.     Massage Envy’s claims have influenced or are likely to influence future

decisions of consumers and the buying public. Plaintiff and the class, by purchasing the

massage services, reasonably acted in reliance on the truth of Massage Envy’s representations,

and the absence of the material information that Massage Envy deceptively omitted.

        62.     As a direct and proximate result of Plaintiff’s and the class’s reliance upon the

representations made by Massage Envy, Plaintiff and the class have sustained damages and

ascertainable loss.



                             FOURTH CAUSE OF ACTION
                      INTENTIONAL MISREPRESENTATION/FRAUD

        63.     Plaintiff re-alleges and incorporates the allegations elsewhere in the Complaint as

if fully set forth herein.

        64.     Massage Envy has engaged and is engaging in intentional misrepresentation

resulting in fraud.

        65.     Massage Envy represented to the public, including to Plaintiff and the class,

that the massage services would cost a lower monthly rate than actually charged.

        66.     Massage Envy’s representations were false and misleading.




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       67.     At the time Massage Envy made statements or representations regarding the

nature and pricing of Massage Envy’s services, Massage Envy knew that the statements and

representations were false and misleading.

       68.     Massage Envy made the misrepresentations alleged herein with the intention of

inducing and persuading Plaintiff and the class to purchase Massage Envy’s massage services.

       69.     Massage Envy further withheld and omitted material information about the

pricing of massage services with the intention of inducing and persuading Plaintiff and the class

to purchase the services.

       70.     Plaintiff and the class, by purchasing the services, reasonably relied on Massage

Envy’s false and misleading statements and misrepresentations, and on the absence of the

material information that Massage Envy deceptively omitted.

       71.     As   a   direct   and   proximate    result   of   Massage   Envy’s    intentional

misrepresentations and deceptive omissions, Plaintiff and the class were induced to pay, and pay

a premium for, Massage Envy’s massage services.

       72.     Plaintiff and the class were damaged through their reliance on Massage Envy’s

intentional misrepresentations and deceptive omissions and through their purchase and use of

Massage Envy’s massage services.

       73.     N.Y. C.P.L.R. 213 states that for “an action based upon fraud; the time within

which the action must be commenced shall be the greater of six years from the date the cause

of action accrued or two years from the time the plaintiff or the person under whom the

plaintiff claims discovered the fraud, or could with reasonable diligence have discovered it.”

Thus, the fraud and/or misrepresentation action falls within the applicable statute of

limitations.




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        74.     Plaintiff’s and the class’s reliance on Massage Envy’s statements and

representations of the nature and pricing of the services was reasonable. As a result, Massage

Envy is guilty of malice, oppression, and fraud, and Plaintiff and the class are therefore entitled

to recover exemplary or punitive damages.



                                  FIFTH CAUSE OF ACTION
                                      RESTITUTION

        75.     Plaintiff re-alleges and incorporates the allegations elsewhere in the Complaint

as if fully set forth herein.

        76.     By virtue of deceptive and unlawful business practices, Massage Envy charged

and received payment for massage services. Massage Envy should not be permitted to retain

those payments in equity and good conscience, as those payments were obtained in

contravention of the law. To permit Massage Envy to retain those payments would wrongfully

confer a benefit upon Massage Envy at the expense of Plaintiff and the class.

        77.     Under the circumstances, it would be inequitable for Massage Envy to retain

these ill-gotten benefits, and therefore restitution to Plaintiff and the class is warranted.



                                     PRAYER FOR RELIEF

        78.     Wherefore, Plaintiff, on behalf of themselves, all others similarly situated, and

the general public, pray for judgment against Massage Envy as to each and every cause of

action, and the following remedies:

                a.      An Order certifying this action as a class action, appointing Plaintiff as

        Class Representative, appointing their counsel as Class Counsel, and requiring Massage

        Envy to bear the cost of class notice;


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       b.      An Order enjoining Massage Envy from increasing monthly charges to

customers without advanced written notice;

       c.      An Order requiring Massage Envy to pay restitution to restore funds that

may have been acquired by means of any act or practice declared by this Court to be an

unlawful, unfair, or fraudulent business act or practice, untrue or misleading

advertising, or a violation of the statutes cited herein;

       d.      An Order requiring Massage Envy to pay all statutory, compensatory,

and punitive damages permitted under the causes of action alleged herein;

       e.      An Order requiring Massage Envy to disgorge or return all monies,

revenues, profits, or other unjust enrichment obtained by means of any wrongful or

unlawful act or practice;

       f.      Pre- and post-judgment interest;

       g.      Costs, expenses, and reasonable attorneys’ fees; and

       h.      Any other and further relief as may later be requested, or which the

Court deems necessary, just, or proper.




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                                         JURY DEMAND

Plaintiff hereby demand a trial by jury on all issues so triable.

Dated: August 15, 2018                 _____/s/ Ishan Dave_________
                                       DEREK SMITH LAW GROUP, PLLC
                                       ISHAN DAVE
                                       Ishan@dereksmithlaw.com
                                       ABRAHAM Z. MELAMED
                                       Abe@dereksmithlaw.com
                                       DEREK T. SMITH
                                       dtslaws@msn.com
                                       1 Pennsylvania Plaza, suite 4905
                                       New York, New York 10119
                                       Phone: (212) 587-0760
                                       MENASHE AND ASSOCIATES LLP
                                       CHEZKY MENASHE
                                       chezki@menashelegal.com
                                       400 Rella Blvd
                                       Montebello, NY 10901
                                       Phone: (845) 520-9220
                                       Counsel for Plaintiff and the Proposed Class




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